             Case 2:15-cr-00176-TLN Document 285 Filed 12/06/17 Page 1 of 3


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 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                      Case No.: 2:15-CR-0176 TLN
10
11
           vs.                                     STIPULATION REGARDING
12                                                 EXCLUDABLE TIME PERIODS
13                                                 UNDER SPEEDY TRIAL ACT;
     DAISY SYSENGRAT                               FINDINGS AND ORDER
14
15                                                 Date: December 7, 2017
                                                   Time: 9:30 a.m.
16                                                 Judge: Hon. Troy L. Nunley
17
18
           IT IS HEREBY STIPULATED by and between the parties hereto through their
19
20   respective counsel, Andre Espinosa, Assistant United States Attorney, attorney for

21   Plaintiff, and Steven B. Plesser, attorney for defendant Sysengrat, that the status
22
     conference currently set for December 7, 2017 should be continued until January 11,
23
24   2018, at 9:30 a.m., and to exclude time between December 7, 2017 and January 11, 2018,

25   under Local Code T4.
26
           The parties agree and stipulate, and request that the Court find the following:
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28
                                            -1-
     Case 2:15-cr-00176-TLN Document 285 Filed 12/06/17 Page 2 of 3


 1    1. The government has provided discovery associated with this case, which is
 2
         voluminous (i.e. approximately 45,000 pages, plus video, audio and
 3
         photos), to defense counsel;
 4
 5    2. Counsel for defendant has recently received a proposed plea agreement
 6
         from the Government and needs additional time to discuss the proposed
 7
 8       agreement with Defendant. Counsel for defendant also desires additional

 9       time to review the discovery in this matter, to consult with client and
10
         conduct any necessary investigation and research related to the charges, and
11
12       to otherwise prepare for trial.

13
      3. Counsel for defendant believes that failure to grant the above-requested
14
         continuance would deny counsel the reasonable time necessary for effective
15
16       preparation, taking into account the exercise of due diligence.
17
      4. The government joins in the request for the continuance.
18
19    5. Based on the above-stated findings, the ends of justice served by continuing
20
         the case as requested outweigh the interest of the public and the defendant
21
22       in a trial within the original date prescribed by the Speedy Trial Act.

23
      6. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
24
         3161, et seq., within which trial must commence, the time period of
25
26       December 7, 2017 to January 11, 2018, inclusive, is deemed excludable
27
         pursuant to 18 U.S.C. section 3161(h)(7)(A), B(iv)[Local Code T4] because
28
         it results from a continuance
                                   - 2 - granted by the Court at counsel’s request on
            Case 2:15-cr-00176-TLN Document 285 Filed 12/06/17 Page 3 of 3


 1               the basis of the Court’s finding that the ends of justice served by taking
 2
                 such action outweigh the interest of the public and the defendant in a
 3
                 speedy trial.
 4
 5            7. Nothing in this stipulation and order shall preclude a finding that other
 6
                 provisions of the Speedy Trial Act dictate that additional time periods are
 7
 8               excludable from the period within which a trial must commence.

 9         IT IS SO STIPULATED.
10
     Dated: December 4, 2017                Respectfully submitted,
11
12                                          STEVEN B. PLESSER

13
14                                          /s/ Steven B. Plesser
                                            STEVEN B. PLESSER
15                                          Attorney for Defendant, Daisy Sysengrat
16
     Dated: December 4, 2017                PHILLIP A. TALBERT
17                                          United States Attorney
18
19                                          /s/ Steven B. Plesser for:
                                            Andre Espinosa
20
                                            Assistant U.S. Attorney
21                                          Attorney for Plaintiff
22
23
24                               FINDINGS And ORDER
25         IT IS SO FOUND AND ORDERED this 5th day of December, 2017.
26
27
28
                                          -3-
                                                            Troy L. Nunley
                                                            United States District Judge
